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                    IN THE UNITED STATES DISTRICT COURT
                  FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

TONIA SCOTT,                                :   CIVIL ACTION NO. 1:22-CV-1451
                                            :
                    Petitioner              :   (Judge Conner)
                                            :
             v.                             :
                                            :
CRAIG LOWE, et al.,                         :
                                            :
                    Respondents             :

                                       ORDER

      AND NOW, this 13th day of October, 2022, upon consideration of the petition

(Doc. 1) for writ of habeas corpus, and for the reasons set forth in the accompanying

memorandum, it is hereby ORDERED that:

      1.     The petition (Doc. 1) for writ of habeas corpus is DISMISSED
             WITHOUT PREJUDICE.

      2.     Petitioner’s motion (Doc. 7) for release pending the review of the
             habeas corpus petition is DENIED as moot.

      3.     A certificate of appealability shall not issue.

      4.     The Clerk of Court is DIRECTED to close this case.


                                         /S/ CHRISTOPHER C. CONNER
                                         Christopher C. Conner
                                         United States District Judge
                                         Middle District of Pennsylvania
